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                      EXHIBIT D
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         To beat Oracle, find jurors who care about
            Leisure Suit Larry not Larry Ellison
       Support upstart Rimini Street's secret allies are Nevada jurors




            27 Feb 2015 at 04:00, Simon Sharwood                                   4                         4


    When you kick a giant in the shins and threaten to cut it off at the knees, do it in a jurisdiction you believe
                                      will provide you with a sympathetic jury.

       That's the strategy advised by Seth Ravin, founder and CEO of third-party application support outfit
                                                    Rimini Street.

       The ten year-old company is an irritant to Oracle and SAP because it supports their applications for
      rather less than the software titans like to charge in their maintenance agreements. Maintenance and
      support are the sweet, low-hanging plums of the software garden, so the pair don't take kindly to those
                                who offer their customers alternative arrangements.

      That stance, Ravin says, is why Rimini Street and Oracle ended up in court, with Big Red emerging in
                                     the stronger position after recent clashes.

     Ravin reckons a court clash was inevitable, likening Oracle's litigation to the music industry's attempts to
       find court-ordered ways to crimp early online music distribution services. From those battles, Ravin's
                           version of history goes, iTunes and other services emerged.




http://www.theregister.co.uk/2015/02/27/to_beat_oracle_in_court_or_commerce_start_outside_california/                                                         3/27/2015
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      The CEO says Rimini Street predicted the clashes it had with Oracle, and even prepared for them by
    choosing the ground on which they would be fought. The company's Las Vegas, Nevada, global HQ was
       therefore chosen partly because the state's pool of jurors knows little about the technology industry.
    Ravin said California juries are more likely to have heard of Oracle and approve of the company because
            it is such a large employer. Bay Area juries, he added, think they are technology experts.

    But Las Vegas jurors know little of technology, making them perhaps more open-minded if Rimini Street
                                                 ends up in court.

    Ravin's not staking his company's success on this strategy: he feels cheaper and better support are what
    puts food on the table and enough zeroes on the bottom line to head for an IPO. And there's a good few
     zeroes there: the company recently announced it's cracked US$100m annual revenue and did so after
                                            $12m of initial investments.

        A newly-launched Australian office will help kick that along, down under and elsewhere in Asia. ®


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